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                                                                                         FILED
                                     UNITED STATES DISTRICT COURT
                                                                                   US DISTRICT COURT
                                    WESTERN DISTRICT OF ARKANSAS                   WESTERN DISTRICT
                                                                                     OF ARKANSAS
                                          FAYETTEVILLE DIVISION
                                                                                      May 28, 2020
IN RE: LADONNA HUMPHREY, DEBTOR
                                                                                  OFFICE OF THE CLERK
DISTRICT COURT NUMBER: 5:20-cv-05048-PKH

BANKRUPTCY COURT NUMBER: 5:19-bk-72555



                                           RESPONSE TO BRIEF



        The Appellee argues in their brief that I am not an “aggrieved person” therefore I have no

standing. Their brief quotes the courts saying that a party is aggrieved if the bankruptcy court order

diminishes the person’s property, increase the person’s burdens, or impairs the person’s rights.     They

then discuss case law that is not even applicable to the present case.


        Individual Appellee, Absolute Pediatric Therapy, has filed a motion to deny dischargability of a

debt.   This is the same debt that was created by the state court judgment. According to my former

attorney, Stanley Bond, who I have now fired, it was my understanding is that Glenn Ritter, attorney for

Anthony Christopher and Absolute Pediatric therapy, stipulated that there was a strong case that the

Judgment would not be upheld on appeal. I am not quite certain if this information is correct as I have

been unsuccessful in my efforts to receive a copy of the transcript. On Monday, May 18, I wrote an

email (Exhibit A) to my former attorney, Stanley Bond, inquiring about statements made in the brief

written by Glenn Ritter regarding this matter. If the brief written by Mr. Ritter is correct, Stanley Bond

went against what he was told to argue for me in court. My request for clarification from Stanley Bond

went unanswered. (See Exhibit B). Prior to the hearing, after providing him the case law that I included

in my brief, it was my understanding that he would make those arguments because they are strong

arguments. Due to a family issue, I asked Mr. Bond if I needed to attend that day. Mr. Bond assured me
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that I did not need to attend. It is shocking that Mr. Bond would not have made these arguments and

based on his refusal to answer me or discuss what happened, I reluctantly had to let him go.


        Now, on my own, in a Pro Se capacity, I will fight on to find some justice in this case. And doing

so, if I follow the logic of Absolute Pediatric Therapy, I will have a 3.5 million dollar judgment that would

be overturned on appeal and they will try to collect from me. In fact, Anthony Christopher’s mother,

Wanda “Maria” Eash, stated on social media that “they” can’t wait to collect the debt and take all of my

assets. Yet somehow I am not an aggrieved party. It simply doesn’t make any sense. Anthony

Christopher has also posted on social media extensively about this case, about how he’s teaching me

“life lessons” and about how he’s received a huge Judgment in his favor because I have slandered him

and tried to ruin his life by lying about him committing Medicaid Fraud. Then please review the previous

exhibits from my brief that include Anthony Christopher’s mug shot, the court docket listing out his

fraud charges, and the arrest warrant that details out the charges against Mr. Christopher. Anthony

Christopher has been charged with the very fraud he has been accused of by multiple people: Janna

Hines, Trucks and Tiaras, Dr. Joel Fankhauser, and others.


        The appellee argues that the sale was final and should be upheld because it was the only and

best offer for the appeal rights.   My first brief explains why this is an inappropriate standard for

looking at the sale.   In re Mozer, 392 B.R. 892 (2003), the Court found that defensive appellate rights

were in fact property of the estate.   The Court however goes on to say the Court must find that it is fair

and equitable and in the best interest of the estate. It goes on to say that if the odds of winning were

the same as the Lotto then $10,000 may be a fair price but if the odds are much better say, one in two,

then it would make sense to sell a $600,000.00 defensive right for $300,000.00. The Court goes on to

say that defensive appellate rights are not susceptible
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  Moreover Appellee ignores the clear facts in the brief that they misled the bankruptcy trustee by

failing to tell them that Christopher had been charged with Medicaid Fraud before the hearing. This is

significant information that should go toward evaluating the claim and what is in the best interest of the

estate. Furthermore, Anthony Christopher and Absolute Pediatric Therapy misled the State Court

repeatedly by calling me a liar and calling the Medicaid Fraud claims I had made “Malicious and

Unfounded”. Clearly those claims were neither malicious or unfounded or he would not have been

charged with several counts of fraud.


  The next argument in the appellee brief is that the appeal rights are not purely defensive. I actually

agree with that but it doesn’t change the fact that appeal of the judgment is defensive. The court

could find that one set of appeal rights that are affirmative can be sold and the defensive rights should

not be sold without much more work on the worth of the rights.


        The final point is that it is my understanding that Absolute Pediatric Therapy has sold its assets

and closed its doors. The purchaser of its assets was Emerge Therapy Services. Interestingly, the

registered agent for Absolute Pediatric Therapy is Absolute Pediatric Services – a company that has had

it’s status revoked by the Arkansas Secretary of State. (Exhibits C and D).


 Based on the information contained in my brief, I ask the court to reverse the Bankruptcy Court’s

approval of the sale of my appeal rights and find that the sale was not in the best interest of the estate.


                                                                              Respectfully Submitted,


                                                                              LaDonna Humphrey


                                                                              11580 Farrar Road


                                                                              Bentonville, AR 72713
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                                    CERTIFICATE OF SERVICE



I hereby certify that on the 28th day of May, 2020, a true and complete copy of the foregoing

was filed with the Clerk of the Court in the above-captioned case, including the U.S. Trustee.


                                                    LaDonna Humphrey
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                                              Exhibit A
LaDonna Humphrey <ladonnamhumphrey@gmail.com>                                    Tue, May 19, 6:15 PM (9
                                                                                               days ago)

Dear Stanley,

I have made the decision to terminate you as my bankruptcy attorney. I am incredibly disappointed
with the number of emails and phone calls that I have made to you that have gone
unanswered. Additionally, before I initially filed for bankruptcy, I sat in your office (along with Tom
Stockland) and asked for every possible outcome that could happen if I filed for bankruptcy. I
repeatedly asked this question because I was very hesitant to file for bankruptcy. You never once
informed me that Anthony Christoper and Absolute Pediatric Therapy could buy my counter claim or
appeal. That was NEVER even mentioned as a possibility, Stanley, and we openly discussed and
explained my complicated legal situation with you as well as the pending appeal. You had all of the facts
and still never advised me of the risk I would be taking with my appeal if I filed bankruptcy.

And now, to make the nightmare even worse, it is apparent there was no real fight against the sell of the
appeal. Why not? I instructed you to fight that sell of my appeal - and I even provided examples of why
I did not believe my appeal rights were part of the estate. I never gave you permission to agree that the
appeal rights were part of the bankruptcy estate! Frankly, I am dumbfounded as to why these requests
and many others have simply been ignored.

And while I thank you for the things that you have done to help me, I have to say that the damage that
has been further inflicted upon me due to the things you failed to do and/or failed to inform me of far
outweigh any help I have received.

In hindsight, I should have fired you the very day that you suggested that I either start "chipping away"
at what I owe on this judgment or that I move to a state that would not allow this judgment to be
collected. That was my mistake.

This is me now remedying that mistake: I am terminating our attorney/client relationship effective
immediately.

I hired you to help me, Stanley, and just the opposite has transpired! The damage that has been
inflicted is beyond repair and inexcusable.

Please consider this your notice that I am requesting a copy of all of my files, including copies of all
correspondence you have had on my behalf, as well as any another information that is related to this
case. Of course, I would also like a full refund, but I do not expect that you would honor such a request.

My husband and I would like to pick up my files the week of May 26. Please have your office notify me
of what day and time we can pick up my files.

Sincerely,
LaDonna Humphrey
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                                                Exhibit B

LaDonna Humphrey <ladonnamhumphrey@gmail.com>                                   Mon, May 18, 4:41 PM (10
                                                                                                days ago)

Stanley,

I received a copy of the brief submitted by Anthony's attorney's in response to my Appeal and it states:

Stanley Bond admitted that Humphrey's claims, including her appellate rights, were property of the
estate. He also admitted, and did not object to, the appropriateness and validity of the terms of the
sale.

I have verbally (and in writing) objected to this sale from the beginning. And yet, this brief seems to
indicate the opposite.

I guess what I am asking here is what he has written here true? Surely it can't be true but I wanted to
ask you myself.

He is also citing the "finality rule" - and I would like that explained to me or at least point me to where I
can find that information on my own.

I am happy to provide you a full copy of this so you can see what was written about you so you have the
full document.

Thank you!
LaDonna Humphrey
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                                                       Exhibit C
Search Incorporations, Cooperatives, Banks and Insurance Companies
Printer Friendly Version

LLC Member information is now confidential per Act 865 of 2007

Use your browser's back button to return to the Search Results
Begin New Search

          For service of process contact the Secretary of State's office.


          Corporation Name                            ABSOLUTE PEDIATRIC THERAPY, INC.

          Fictitious Names

          Filing #                                    811152380

          Filing Type                                 For Profit Corporation

          Filed under Act                             Dom Bus Corp; 958 of 1987

          Status                                      Good Standing

          Principal Address

          Reg. Agent                                  ABSOLUTE PEDIATRIC SERVICES, INC

          Agent Address                               2713 SE I STREET #1

                                                      BENTONVILLE, AR 72712

          Date Filed                                  12/18/2017

          Officers                                    ANTHONY CHRISTOPHER ,
                                                      Incorporator/Organizer
                                                      ANTHONY CHRISTOPHER , President

          Foreign Name                                N/A

          Foreign Address

          State of Origin                             N/A

          Purchase a Certificate of Good              Pay Franchise Tax for this corporation
          Standing for this Entity
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                                                      Exhibit D
Search Incorporations, Cooperatives, Banks and Insurance
Companies
Printer Friendly Version

LLC Member information is now confidential per Act 865 of 2007

Use your browser's back button to return to the Search Results
Begin New Search

          For service of process contact the Secretary of State's office.


          Corporation Name                            ABSOLUTE PEDIATRIC SERVICES INC.,

          Fictitious Names                            ABSOLUTE COMMUNITY PARTNERSHIP

          Filing #                                    811134618

          Filing Type                                 For Profit Corporation

          Filed under Act                             Dom Bus Corp; 958 of 1987

          Status                                      Revoked

          Principal Address                           2713 SE I STREET
                                                      BENTONVILLE, AR 72712

          Reg. Agent                                  ANTHONY CHRISTOPHER

          Agent Address                               3526 W CLABBER CREEK BLVD

                                                      FAYETTEVILLE, AR 72704

          Date Filed                                  05/27/2017

          Officers                                    ANTHONY CHRISTOPHER ,
                                                      Incorporator/Organizer
                                                      ANTHONY CHRISTOPHER , President

          Foreign Name                                N/A

          Foreign Address

          State of Origin                             N/A


                                                      Pay Franchise Tax for this corporation
